

People v Williams (2022 NY Slip Op 06559)





People v Williams


2022 NY Slip Op 06559


Decided on November 17, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2022

Before: Kapnick, J.P., Webber, Friedman, Gesmer, Singh, JJ. 


Ind No. 925/08 Appeal No. 16694 Case No. 2020-02278 

[*1]The People of the State of New York, Respondent,
vHerbert Williams, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Alma D. Gonzalez of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Stephanie L. Nelson of counsel), for respondent.



Order, Supreme Court, Bronx County (Judith Lieb, J.) entered on or about March 5, 2020, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court correctly assessed 15 points under the risk factor for drug abuse (see People v Ramos, 171 AD3d 483, 484 [1st Dept 2019], lv denied 33 NY3d 912 [2019]; People v Greene, 154 AD3d 583 [1st Dept 2017], lv denied 30 NY3d 913 [2018]).
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861-864 [2014]). There were no mitigating factors that were not adequately taken into account by the guidelines or outweighed by the seriousness of the underlying crime. We note that defendant's claims of rehabilitation while he was incarcerated are undermined by his unsatisfactory prison disciplinary record.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2022








